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 8                                   UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                    No. 1:13-CR-00077 LJO
12                      Plaintiff,
13           v.                                    ORDER
14    ROBERT MARTINEZ,
15                      Defendants.
16

17          IT IS HEREBY ORDERED that the indictment in the above-entitled case be dismissed as

18   to Robert Martinez without prejudice.

19
     IT IS SO ORDERED.
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21      Dated:    September 26, 2018                   /s/ Lawrence J. O’Neill _____
                                                UNITED STATES CHIEF DISTRICT JUDGE
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